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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          VICTORIA DIVISION


STATE OF TEXAS; STATE OF
LOUISIANA,

                                           Civ. Action No. 6:21-cv-00016
                 Plaintiffs,

     v.

The UNITED STATES OF AMERICA, et al.;


                 Defendants.




                               JOINT ADVISORY
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        Plaintiffs and Defendants jointly submit this advisory to address the Court’s questions

during the hearing on August 23, 2021.

        First, Defendants will serve Plaintiffs the administrative record by Wednesday, September

8, 2021. Defendants will also file the index of the administrative record on the public record by

September 8, 2021. 1

        Second, the parties agree that the deadline for Defendants’ responsive pleading be extended

until October 20, 2021. Defendants do not concede that this Court has jurisdiction, but agree that

they will not rely on the fact that they have not yet responded to the Complaint to defer any of the

case management issues otherwise discussed in this filing. Rather, Defendants will address

questions of jurisdiction in the context of those other matters, including whether discovery is

appropriate. To the extent circumstances change, Defendants will address those new circumstances

in a separate filing.

        Third, the parties disagree about whether discovery is appropriate in this case. Defendants

believe that the “record rule” forecloses discovery. Plaintiffs believe that the record rule does not

foreclose all discovery. (Defendants contend that discovery is appropriate to assess Plaintiffs’

claim to standing but are willing to forego such discovery if the Court agrees to limit the record to

the administrative record; otherwise, to the extent the Court orders any discovery, Defendants

reserve the right to seek reciprocal discovery, including on questions of standing.) To aid the Court

in resolving this dispute, the parties plan to proceed as follows:




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           Because the administrative record totals thousands of pages, including slip-sheets for withheld privileged
information, Defendants are not in a position to file the entire administrative record on the public record. Rather,
Defendants propose that the parties proceed consistent with the Local Rule 7(n)(2) of the District of the District of
Columbia in which the parties, among other things, file an appendix of relied upon material from the administrative
record within 14 days of the last memorandum on the subject dispositive motion. Plaintiffs believe that the Court
would benefit from having access to the entire administrative record and propose that it be filed with the Court.

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    •    Plaintiffs file a motion with the Court within seven days of the administrative record being
         submitted to them;

    •    Defendants respond within seven days of Plaintiffs’ motion being filed; and

    •    Plaintiffs reply within seven days of Defendants’ response being filed.

    •    The Court will schedule a hearing, if it deems one is necessary, at its earliest convenience
         following receipt of Plaintiffs’ reply.

         Fourth, the parties have not reached agreement on a schedule but believe that they will be

able to make more progress on that issue after the Court has ruled on the propriety of discovery.

The parties propose filing a joint scheduling report within 14 days of the Court’s ruling on the

propriety of discovery.

         Fifth, regarding the location for a trial, Plaintiffs would be happy with any of the locations

that the Court proposed. Plaintiffs prefer to appear in-person but understand that some witnesses

or opposing counsel may need to appear by video-conference. Defendants do not believe a trial or

an evidentiary hearing is warranted and that such questions would be best addressed, if necessary,

following this Court’s ruling on the propriety of discovery. Further, Defendants believe that to the

extent a trial is to proceed, its location and whether it should be held in person should be

determined in light of the circumstances closer to the time of any such trial.

         Sixth, the parties’ positions on Defendants’ reporting requirements are discussed in a

separate filing.




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Date: September 1, 2021            Respectfully submitted.

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                                  CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on September 1, 2021, which automatically serves all counsel of record who are

registered to receive notices in this case.

                                                 /s/ Patrick K. Sweeten
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